                                                                                 JAMES H. RICHARDSON
                                                                          EMAIL: Jim@richardsonmaples.com




                                            July 26, 2019


George Wayne White, CPA                                                    VIA CERTIFIED MAIL
GWW CPA LLC
P.O. Box 590153
Birmingham, AL 35259

       Re:     Mr. & Mrs. Rex Rankin, III

Dear Mr. White:

        I have been engaged to represent Mr. and Mrs. Rankin and their affiliated entities (“the
Rankins”) in regard to the apparent failure of you and/or your practice group(s) to prepare and/or
file income tax returns on their behalf, which has apparently transpired for a number of years.

       Understandably, these acts and omissions have has caused serious problems for the
Rankins with the Internal Revenue Service and other tax authorities. My clients have been forced
to engage professional advice at significant expense, and to incur other costs in an effort to
mitigate the damage inflicted by your negligence.

         I am further advised that you have failed to respond to their request for the return of their
files. I hereby make formal demand on behalf of my clients for the return of any and all
documents, materials, electronic data files or other records of any type in the custody or control
of you or your practice group(s) and pertaining to the Rankins, both individually and through
their affiliated entities. Please forward same to my office, to my attention, within ten (10) days
of the date of this letter.

         This letter is also to put you on notice of my clients’ claim for professional negligence
and malpractice, against you individually as well as all practice groups with which you have been
affiliated during the subject time period, related to the failure to file tax returns on behalf of my
clients. The Rankins reserve all other claims pending the return of their records and the
opportunity to review them for other errors, omissions or professional misconduct.

        Further, you are requested to advise me of the name and address of your malpractice /
errors and omissions carrier, to report to them the receipt of this notice of my clients’ claim, and
to direct them to contact me as soon as possible.




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       Finally, I would ask further that neither you nor your carrier contact my clients directly
regarding the matters addressed in this letter, but rather that all such communications be routed
through me. Thank you for your expected cooperation in this regard.

       I look forward to hearing from you soon.


                                             Very truly yours,



                                             James H. Richardson

JHR/ldh
cc:   Mr. & Mrs. Rex Rankin, III




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                                   J. Smith Lanier & Company
                                   P.O. Box 6087
                                   Huntsville, AL 35813-0087



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